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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )                    4:08CR3078
                                             )
            v.                               )
                                             )
PEEAIR SHAUN WARD,                           )     ORDER GRANTING MOTION TO SEAL
                                             )
                   Defendants.               )
                                             )


     IT IS ORDERED that the Motion to Seal, filing 130, is granted.

     Dated October 14, 2009.

                                    BY THE COURT

                                    s/ Warren K. Urbom
                                    United States Senior District Judge
